



















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS






NO. PD-1539-11





SYLVESTER NICHOLS, Appellant


                  




v.



THE STATE OF TEXAS





ON APPELLANT'S PETITION FOR DISCRETIONARY REVIEW


FROM THE SIXTH COURT OF APPEALS


ANGELINA COUNTY





		Per curiam.  Keasler and Hervey, JJ., dissent.


O R D E R 



	The petition for discretionary review violates Rules of Appellate Procedure 68.5,
because it exceeds the page limits.

	The petition is struck.  See Rule of Appellate Procedure 68.6.

	The petitioner may redraw the petition.  The redrawn petition and copies must be filed
in the Court of Criminal Appeals within thirty days after the date of this order.

Filed:	February 1, 2012

Do Not Publish



